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                                                        TRANSCRIPT PURCHASE ORDER
                                                             for Third Circuit Court of Appeals

          District Court     Western District of Pennsylvania                            Court of Appeals Docket No.       24-9002

                                                                                         District Court Docket No.         2:18-cr-00292-DJC-1

  Short Case Title United States v. Robert Bowers

  Date Notice of Appeal Filed by Clerk of District Court May 31, 2024

Part I.        (To be completed by party responsible for ordering transcript)                      NOTE: A SEPARATE FORM IS TO BE TYPED FOR
A.        Check one of the following and serve ALL COPIES:                                         EACH COURT REPORTER IN THIS CASE.

          TRANSCRIPT:
                     None                                          Unnecessary for appeal purposes.
                     Already on file in the District Court Clerk’s office.
           X         This is to order a transcript of the proceedings heard on the date listed below from Marsia Balobeck                       (Court Reporter)
          (Specify on lines below exact date of proceedings to be transcribed). If requesting only partial transcript of the proceedings, specify exactly what
          portion or what witness testimony is desired.
          Jury Trial as to Robert Bowers on 5/31/2023 (Docket Entry 1288)


          If proceeding to be transcribed was a trial, also check any appropriate box below for special requests; otherwise, this material will NOT be
          included in the trial transcripts.

                     Voir dire                                           Open Statement of Plaintiff                         Opening Statement of Defendant
                     Closing Argument of Plaintiff                       Closing Argument of Defendant
                     Jury Instructions                                   Sentencing Hearings

          FAILURE TO SPECIFY IN ADEQUATE DETAIL THOSE PROCEEDINGS TO BE TRANSCRIBED OR FAILURE TO
          MAKE PROMPT SATISFACTORY FINANCIAL ARRANGEMENTS FOR TRANSCRIPT ARE GROUNDS FOR
          DISMISSAL OF THE APPEAL OR IMPOSITION OF SANCTIONS
B.        This is to certify that satisfactory financial arrangements have been completed with the court reporter for payment of the cost of the transcript.
          The method of payment will be:

                     CJA Form submitted to District Court Judge                             Motion for Transcript has been submitted to District
                     CJA Form submitted to Court of Appeals                    X            Court Private Funds >)3'@


Signature
                 /s Sean J. Bolser                                                   Date              June 18, 2024

Print Name       Sean J. Bolser                                                      Counsel for       Robert Bowers

Address          One Pierrepont Plaza, 16th Fl., Brooklyn, NY 11201                  Telephone         718-330-1200

Part II. COURT REPORTER ACKNOWLEDGEMENT (To be completed by the Court Reporter and forwarded to the Court of
               Appeals on the same day transcript order is received.)
             Date transcript order        Estimated completion date; if not within 30 days of date financial arrangements        Estimated number
                   received                        made, motion for extension to be made to Court of Appeals                          of pages



                                                        Arrangements for payment were made on

                                                        Arrangements for payment have not been made pursuant to FRAP 10(b)


                              Date                                      Name of Court Report                                          Telephone

Part III. NOTIFICATION THAT TRANSCRIPT HAS BEEN FILED IN THE DISTRICT COURT (To be completed by court reporter
               on date of filing transcript in District. Court Notification must be forwarded to the Court of Appeals on the same date.)
                     Actual Number of Pages                                          Actual Number of Volumes


                              Date                                                                          Signature of Court Reporter
